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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


 ERIK W. TRACZYK                                       CIVIL ACTION

 VERSUS                                                NO: 17-10426
                                                       c/w NO: 18-785

 WARDEN DARRYL VANNOY                                  SECTION: “J”(1)

                                     ORDER

      The Court, having considered the petitions, the record, the applicable law and

the Report and Recommendation of the United States Magistrate Judge, and the

objections to the Magistrate Judge’s Report and Recommendation, hereby

OVERRULES Petitioner Traczyk’s objections and approves the Report and

Recommendation of the United States Magistrate Judge and adopts it as its own

opinion herein. Accordingly,

      IT IS ORDERED that the federal applications for habeas corpus relief filed

by Erik Traczyk are DENIED and DISMISSED WITHOUT PREJUDICE as mixed

petitions.

      New Orleans, Louisiana, this 20th day of December, 2018.




                                            CARL J. BARBIER
                                            UNITED STATES DISTRICT JUDGE
